




 &nbsp;&nbsp;&nbsp;&nbsp;People v. Stewart,

 &nbsp;&nbsp;&nbsp;&nbsp;

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Docket No. 82947--Agenda 17--September 1997.

 &nbsp;&nbsp;&nbsp;&nbsp;THE PEOPLE OF THE STATE OF ILLINOIS, Appellee, v. CHARLES STEWART,

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant.

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Opinion filed December 18, 1997.

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;JUSTICE HARRISON delivered the opinion of the court:

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Following a bench trial in the circuit court of Cook County, the defendant, Charles

 &nbsp;&nbsp;&nbsp;&nbsp;Stewart, was found guilty of first degree murder and sentenced to a term of imprisonment

 &nbsp;&nbsp;&nbsp;&nbsp;of 70 years. In finding defendant guilty the trial court relied, in part, expressly upon a

 &nbsp;&nbsp;&nbsp;&nbsp;highly inculpatory post-arrest statement determined by that court to have been made by

 &nbsp;&nbsp;&nbsp;&nbsp;him. The statement was admitted into evidence as People's Exhibit No. 58 but was

 &nbsp;&nbsp;&nbsp;&nbsp;neither published in the record in the trial court nor included in the record on appeal. In

 &nbsp;&nbsp;&nbsp;&nbsp;the appellate court defendant appears to have presented two issues for review: (1) that his

 &nbsp;&nbsp;&nbsp;&nbsp;constitutional rights to due process and to confront and cross-examine witnesses testifying

 &nbsp;&nbsp;&nbsp;&nbsp;against him were violated by the admission of the grand jury testimony of a witness as

 &nbsp;&nbsp;&nbsp;&nbsp;substantive evidence and (2) that the evidence was insufficient to prove him guilty beyond

 &nbsp;&nbsp;&nbsp;&nbsp;a reasonable doubt. In an order issued according to Supreme Court Rule 23 (134 Ill. 2d

 &nbsp;&nbsp;&nbsp;&nbsp;R. 23), the appellate court affirmed the judgment of the trial court. Thereafter, in a

 &nbsp;&nbsp;&nbsp;&nbsp;modified order upon denial of rehearing, the appellate court again affirmed the judgment

 &nbsp;&nbsp;&nbsp;&nbsp;of the trial court. No. 1--95--3666 (unpublished order under Supreme Court Rule 23). We

 &nbsp;&nbsp;&nbsp;&nbsp;allowed the defendant's petition for leave to appeal as a matter of right pursuant to

 &nbsp;&nbsp;&nbsp;&nbsp;Supreme Court Rule 317 (134 Ill. 2d R. 317). Seeking reversal of his conviction, he raises

 &nbsp;&nbsp;&nbsp;&nbsp;two issues for our review: (1) whether the appellate court denied defendant his

 &nbsp;&nbsp;&nbsp;&nbsp;constitutional guarantees to effective assistance of counsel, confrontation, and due process

 &nbsp;&nbsp;&nbsp;&nbsp;of law when it affirmed his conviction for first degree murder "by relying upon the

 &nbsp;&nbsp;&nbsp;&nbsp;content of the defendant's post-arrest statement previously ordered, on objection by the

 &nbsp;&nbsp;&nbsp;&nbsp;State, barred from the record on appeal" and (2) whether the appellate court erred in

 &nbsp;&nbsp;&nbsp;&nbsp;considering defendant's post-arrest statement "on rehearing" without first ruling on issues

 &nbsp;&nbsp;&nbsp;&nbsp;concerning the State's noncompliance with Supreme Court Rule 341(e)(7) (155 Ill. 2d R.

 &nbsp;&nbsp;&nbsp;&nbsp;341(e)(7)) and the doctrine of waiver.

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;During the pendency of his appeal, defendant moved that the appellate court direct

 &nbsp;&nbsp;&nbsp;&nbsp;the State to supplement the record on appeal. In the motion, a copy of which is appended

 &nbsp;&nbsp;&nbsp;&nbsp;to each party's brief in this court, defendant's appellate counsel stated as affiant that he

 &nbsp;&nbsp;&nbsp;&nbsp;had not been defendant's trial attorney, that he had read the eight-volume record on

 &nbsp;&nbsp;&nbsp;&nbsp;appeal, and that

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;"[t]he most significant and major portion of the evidence against Defendant

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Charles Stewart on the trial of the instant cause consisted of Grand Jury

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;testimony of two State witnesses plus a written statement allegedly made

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;by the Defendant. However, undoubtedly due to the fact that this was a

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;bench trial, none of those documents were published in the record on

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;appeal. Instead, the documents were introduced into evidence and then

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;delivered to the trial judge for his perusal and consideration. The report of

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;proceedings clearly indicates that the trial judge considered these

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;documents in finding the Defendant guilty. Though introduced into

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;evidence by the People these documents do not appear in the common law

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;record."

 &nbsp;&nbsp;&nbsp;&nbsp;Counsel stated in the motion that he had never seen these documents and that it was not

 &nbsp;&nbsp;&nbsp;&nbsp;possible for him accurately to assess their worth in arguments before the court concerning

 &nbsp;&nbsp;&nbsp;&nbsp;a record on appeal from which they were omitted. Counsel reasoned in the motion that

 &nbsp;&nbsp;&nbsp;&nbsp;"[p]resumably, the People of the State of Illinois still have available a clean copy of the

 &nbsp;&nbsp;&nbsp;&nbsp;documents, if not the actual exhibits themselves, suitable for presentation to this

 &nbsp;&nbsp;&nbsp;&nbsp;Honorable Court in a supplemental record on appeal." Defendant moved that the court

 &nbsp;&nbsp;&nbsp;&nbsp;"enter an order directing the People of the State of Illinois to cause to be prepared and

 &nbsp;&nbsp;&nbsp;&nbsp;to submit to this Honorable Court a supplemental record on appeal containing any

 &nbsp;&nbsp;&nbsp;&nbsp;exhibits introduced by the People of the State of Illinois on the trial of this cause which

 &nbsp;&nbsp;&nbsp;&nbsp;the People will seek to rely upon before this Honorable Court on the appeal of the instant

 &nbsp;&nbsp;&nbsp;&nbsp;cause."

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;In its response to this motion, a copy of which also is appended to each party's

 &nbsp;&nbsp;&nbsp;&nbsp;brief in this court, the State objected strongly to defendant's request that it be directed to

 &nbsp;&nbsp;&nbsp;&nbsp;file a supplemental record. The State submitted "that the record before this Honorable

 &nbsp;&nbsp;&nbsp;&nbsp;Court is complete, thereby enabling it to fully decide all issues presented" and contended

 &nbsp;&nbsp;&nbsp;&nbsp;that defendant had "failed to meet his burden of demonstrating what part of the record is

 &nbsp;&nbsp;&nbsp;&nbsp;incomplete, incorrect or made any clearer by the Grand Jury testimony of two State

 &nbsp;&nbsp;&nbsp;&nbsp;witnesses plus a written statement allegedly made by the defendant." The State maintained

 &nbsp;&nbsp;&nbsp;&nbsp;further in its response that "[t]he Record from the Grand Jury testimony of two State

 &nbsp;&nbsp;&nbsp;&nbsp;witnesses plus a written statement allegedly made by the defendant, which was not in

 &nbsp;&nbsp;&nbsp;&nbsp;evidence at trial, is wholly inappropriate for review on appeal" and concluded that

 &nbsp;&nbsp;&nbsp;&nbsp;"defendant is improperly attempting to contradict the record and embellish it with

 &nbsp;&nbsp;&nbsp;&nbsp;cumulative material."

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;In an order, a copy of which is likewise appended to the brief of each party, the

 &nbsp;&nbsp;&nbsp;&nbsp;appellate court denied the defendant's motion, described by the court in its order as

 &nbsp;&nbsp;&nbsp;&nbsp;"requiring the People of the State of Illinois to cause the Clerk of the Circuit Court of

 &nbsp;&nbsp;&nbsp;&nbsp;Cook County to prepare a supplemental record on appeal in the instant cause containing

 &nbsp;&nbsp;&nbsp;&nbsp;the People's exhibits introduced on the trial in the instant cause which the People will

 &nbsp;&nbsp;&nbsp;&nbsp;rely upon in the prosecution of the instant appeal."

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;In its initial order affirming the judgment of the trial court, the appellate court

 &nbsp;&nbsp;&nbsp;&nbsp;indicated that defendant's confession had been admitted into evidence but noted that

 &nbsp;&nbsp;&nbsp;&nbsp;defendant had not included it in the record. In this order the appellate court said that the

 &nbsp;&nbsp;&nbsp;&nbsp;State had focused in its closing argument on the fact that defendant had admitted in his

 &nbsp;&nbsp;&nbsp;&nbsp;confession to having held the victim, Stephen Green, while others beat the victim. During

 &nbsp;&nbsp;&nbsp;&nbsp;closing argument at trial, the prosecutor asked, "What does Charles Stewart's statement

 &nbsp;&nbsp;&nbsp;&nbsp;tell you, your Honor?" and proceeded, without objection by defendant, to catalogue in

 &nbsp;&nbsp;&nbsp;&nbsp;detail and at some length most of the contents of the statement in the same order in which

 &nbsp;&nbsp;&nbsp;&nbsp;they appear in it. Having found that the evidence supported defendant's conviction for

 &nbsp;&nbsp;&nbsp;&nbsp;first degree murder, the appellate court stated further in this order: "In his confession,

 &nbsp;&nbsp;&nbsp;&nbsp;defendant told the police that he held the victim and kicked him during a gang meeting

 &nbsp;&nbsp;&nbsp;&nbsp;at Sheila's apartment. Sheila testified before the grand jury that she saw defendant hold

 &nbsp;&nbsp;&nbsp;&nbsp;the victim and participate in the `violation.' Based on all of the evidence at trial, a

 &nbsp;&nbsp;&nbsp;&nbsp;reasonable trier of fact could have found each element of the crime beyond a reasonable

 &nbsp;&nbsp;&nbsp;&nbsp;doubt."

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;In a petition for rehearing, a copy of which is appended to the State's brief in this

 &nbsp;&nbsp;&nbsp;&nbsp;court, defendant took the position that since no witness had testified to the content of the

 &nbsp;&nbsp;&nbsp;&nbsp;defendant's statement at trial and, thus, there was no evidence to support the appellate

 &nbsp;&nbsp;&nbsp;&nbsp;court's statements about defendant's confession, the conclusion was "inescapable" that the

 &nbsp;&nbsp;&nbsp;&nbsp;appellate court had "either communicated ex parte with someone having access to the

 &nbsp;&nbsp;&nbsp;&nbsp;defendant's post-arrest statement, or else this Court has simply fictionalized the existence

 &nbsp;&nbsp;&nbsp;&nbsp;of defendant's `confession' wherein `defendant admitted to holding the victim and kicking

 &nbsp;&nbsp;&nbsp;&nbsp;him during the violation***.' " Defendant asserted further in the petition for rehearing

 &nbsp;&nbsp;&nbsp;&nbsp;that the appellate court had "ordered that the defendant's post-arrest statement not be

 &nbsp;&nbsp;&nbsp;&nbsp;filed." (Emphasis in original.)

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;In its response to the defendant's petition for rehearing, a copy of which is

 &nbsp;&nbsp;&nbsp;&nbsp;appended to the defendant's brief in this court, the State denied that the State's Attorney's

 &nbsp;&nbsp;&nbsp;&nbsp;office had engaged in ex parte communication with the court and declared that the

 &nbsp;&nbsp;&nbsp;&nbsp;appellate court's order makes clear that the source of the court's knowledge of a single

 &nbsp;&nbsp;&nbsp;&nbsp;sentence from the defendant's confession came not from viewing the written document

 &nbsp;&nbsp;&nbsp;&nbsp;itself, but from viewing the record of the prosecutor's remarks summarizing it during

 &nbsp;&nbsp;&nbsp;&nbsp;closing argument at trial. The State said further, with reference to its earlier response to

 &nbsp;&nbsp;&nbsp;&nbsp;the defendant's motion for an order directing it to cause to be prepared and to submit a

 &nbsp;&nbsp;&nbsp;&nbsp;supplemental record on appeal, that the State had objected when it was not in possession

 &nbsp;&nbsp;&nbsp;&nbsp;of the record on appeal and before any assistant State's Attorney had been assigned to

 &nbsp;&nbsp;&nbsp;&nbsp;write its brief and that it had done so while under the mistaken impression that the

 &nbsp;&nbsp;&nbsp;&nbsp;documents had not been admitted into evidence at trial. The State indicated further in its

 &nbsp;&nbsp;&nbsp;&nbsp;response to the defendant's petition for rehearing that at oral argument counsel for the

 &nbsp;&nbsp;&nbsp;&nbsp;State had recounted her unsuccessful efforts to obtain a copy of the defendant's

 &nbsp;&nbsp;&nbsp;&nbsp;confession after defendant had filed his brief and that, after defendant had filed his

 &nbsp;&nbsp;&nbsp;&nbsp;petition for rehearing, the State had obtained through its Felony Review Division

 &nbsp;&nbsp;&nbsp;&nbsp;defendant's written confession admitted into evidence at trial and would attempt to have

 &nbsp;&nbsp;&nbsp;&nbsp;the document bound and certified and move for its inclusion in the record on appeal.

 &nbsp;&nbsp;&nbsp;&nbsp;While asserting that the defendant's petition for rehearing should be denied, the State

 &nbsp;&nbsp;&nbsp;&nbsp;suggested that if the appellate court should determine that rehearing were warranted, the

 &nbsp;&nbsp;&nbsp;&nbsp;court should rehear the case with the benefit of the defendant's confession included in the

 &nbsp;&nbsp;&nbsp;&nbsp;record on appeal.

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Thereafter, over defendant's objection, the State moved successfully to supplement

 &nbsp;&nbsp;&nbsp;&nbsp;the record on appeal with the written, five-page confession, stating in its motion that the

 &nbsp;&nbsp;&nbsp;&nbsp;confession had been prepared for submission to the appellate court and since it was now

 &nbsp;&nbsp;&nbsp;&nbsp;available, it should be included in the record on appeal because of its significance in view

 &nbsp;&nbsp;&nbsp;&nbsp;of the defendant's argument that the evidence was insufficient to support his conviction.

 &nbsp;&nbsp;&nbsp;&nbsp;Following entry of an order of the appellate court permitting defendant to file a reply

 &nbsp;&nbsp;&nbsp;&nbsp;within two weeks to the State's response to his petition for rehearing, defendant filed such

 &nbsp;&nbsp;&nbsp;&nbsp;a reply, almost six weeks after the supplemental record containing his post-arrest

 &nbsp;&nbsp;&nbsp;&nbsp;statement had been filed in the appellate court. As we have already indicated, in a

 &nbsp;&nbsp;&nbsp;&nbsp;modified order upon denial of defendant's petition for rehearing the appellate court

 &nbsp;&nbsp;&nbsp;&nbsp;thereafter affirmed the judgment of the trial court. In finding that the evidence supported

 &nbsp;&nbsp;&nbsp;&nbsp;defendant's conviction for first degree murder, the appellate court noted that "[a]

 &nbsp;&nbsp;&nbsp;&nbsp;supplemental record containing defendant's confession, filed subsequent to the original

 &nbsp;&nbsp;&nbsp;&nbsp;order issued in this matter, in fact shows that defendant admitted to holding the victim

 &nbsp;&nbsp;&nbsp;&nbsp;and kicking him during the violation." Based on all of the evidence, when viewed in a

 &nbsp;&nbsp;&nbsp;&nbsp;light most favorable to the prosecution, the appellate court found that a reasonable trier

 &nbsp;&nbsp;&nbsp;&nbsp;of fact could have found each element of the crime beyond a reasonable doubt.

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;In his petition for leave to appeal as a matter of right, defendant contended that

 &nbsp;&nbsp;&nbsp;&nbsp;the "reliance by the Appellate Court upon matters not made available to the defendant at

 &nbsp;&nbsp;&nbsp;&nbsp;the appellate level," namely, his post-arrest statement, had denied him his rights of

 &nbsp;&nbsp;&nbsp;&nbsp;confrontation, due process, and effective assistance of counsel on appeal. As a

 &nbsp;&nbsp;&nbsp;&nbsp;consequence, a constitutional question had arisen for the first time in and as a result of

 &nbsp;&nbsp;&nbsp;&nbsp;the action of the appellate court.

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;With respect to the first issue defendant raises for our review, he contends that

 &nbsp;&nbsp;&nbsp;&nbsp;"[a]s a general proposition, it violated the rulings of this Court and every district

 &nbsp;&nbsp;&nbsp;&nbsp;Appellate Court, including the First District, when the court in the case at bar considered

 &nbsp;&nbsp;&nbsp;&nbsp;matters already ruled excluded from the record on order of the Appellate Court." He

 &nbsp;&nbsp;&nbsp;&nbsp;reasons that when the appellate court "entered its orders affirming the defendant's

 &nbsp;&nbsp;&nbsp;&nbsp;conviction predicated upon a purported post-arrest statement which had been excluded by

 &nbsp;&nbsp;&nbsp;&nbsp;its own previous order from the record, and which was unavailable to defense counsel,

 &nbsp;&nbsp;&nbsp;&nbsp;the result was a `denial of counsel [which] left petitioner completely without

 &nbsp;&nbsp;&nbsp;&nbsp;representation during the Appellate Court's actual decisional process.' " The appellate

 &nbsp;&nbsp;&nbsp;&nbsp;court, he asserts, "committed constitutional error of first magnitude when it decided a

 &nbsp;&nbsp;&nbsp;&nbsp;critical issue on appeal--the sufficiency of the evidence to convict--without affording to

 &nbsp;&nbsp;&nbsp;&nbsp;the defendant his right to counsel during the actual decisional process."

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The State responds that in its initial Rule 23 order the appellate court properly

 &nbsp;&nbsp;&nbsp;&nbsp;affirmed defendant's conviction in the absence of defendant's post-arrest statement in the

 &nbsp;&nbsp;&nbsp;&nbsp;record, presuming that the evidence was sufficient to support the trial court's finding of

 &nbsp;&nbsp;&nbsp;&nbsp;guilty. The State maintains further that there was nothing in the appellate court's order

 &nbsp;&nbsp;&nbsp;&nbsp;denying defendant's motion to compel the State to supplement the record that prevented

 &nbsp;&nbsp;&nbsp;&nbsp;defendant from doing that which by law he has a duty to do, namely, to preserve and to

 &nbsp;&nbsp;&nbsp;&nbsp;file a complete record on appeal. The State contends as well that the appellate court

 &nbsp;&nbsp;&nbsp;&nbsp;properly granted the State leave to supplement the record with defendant's post-arrest

 &nbsp;&nbsp;&nbsp;&nbsp;statement and properly relied upon that statement in its modified order upon denial of

 &nbsp;&nbsp;&nbsp;&nbsp;rehearing after having given the defendant an opportunity to consider the supplemental

 &nbsp;&nbsp;&nbsp;&nbsp;record in arguing the sufficiency of the evidence in his reply to the State's response to

 &nbsp;&nbsp;&nbsp;&nbsp;his petition for rehearing.

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Responsibility for preserving and presenting a sufficient record of the asserted

 &nbsp;&nbsp;&nbsp;&nbsp;error necessarily falls on the party who makes the assertion of error. People v. Smith, 106

 &nbsp;&nbsp;&nbsp;&nbsp;Ill. 2d 327, 334-35 (1985); People v. Edwards, 74 Ill. 2d 1, 6 (1978). When the record

 &nbsp;&nbsp;&nbsp;&nbsp;presented on appeal is incomplete, a court of review will indulge in every reasonable

 &nbsp;&nbsp;&nbsp;&nbsp;presumption favorable to the judgment from which the appeal is taken, including the

 &nbsp;&nbsp;&nbsp;&nbsp;presumption that the trial court ruled or acted correctly, and any doubt arising from the

 &nbsp;&nbsp;&nbsp;&nbsp;incompleteness of the record will be resolved against the appellant. See People v. Majer,

 &nbsp;&nbsp;&nbsp;&nbsp;131 Ill. App. 3d 80, 84 (1985). Although defendant takes the position that the appellate

 &nbsp;&nbsp;&nbsp;&nbsp;court barred his confession from inclusion in the record on appeal, the appellate court did

 &nbsp;&nbsp;&nbsp;&nbsp;not do so. Instead, it declined to direct the State to cause to be prepared and to submit

 &nbsp;&nbsp;&nbsp;&nbsp;a supplemental record on appeal containing any exhibits it had introduced at trial upon

 &nbsp;&nbsp;&nbsp;&nbsp;which it would rely on appeal. Although defendant attempted to cause the record on

 &nbsp;&nbsp;&nbsp;&nbsp;appeal to be supplemented, he did so by means of a motion to compel the State to

 &nbsp;&nbsp;&nbsp;&nbsp;provide these exhibits. While the State's remarkably erroneous response to the defendant's

 &nbsp;&nbsp;&nbsp;&nbsp;motion to supplement the record cannot be condoned, the obvious incompleteness of this

 &nbsp;&nbsp;&nbsp;&nbsp;record was, nevertheless, a circumstance chargeable to the defendant as appellant, and in

 &nbsp;&nbsp;&nbsp;&nbsp;its initial order affirming the judgment of the trial court, the appellate court properly

 &nbsp;&nbsp;&nbsp;&nbsp;resolved any doubt arising from the incompleteness of the record against him (see People

 &nbsp;&nbsp;&nbsp;&nbsp;v. Dowdy, 140 Ill. App. 3d 631, 639 (1986)).

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Supreme Court Rule 366(a) (134 Ill. 2d R. 366(a)) provides that "[i]n all appeals

 &nbsp;&nbsp;&nbsp;&nbsp;the reviewing court may, in its discretion, and on such terms as it deems just, *** (3)

 &nbsp;&nbsp;&nbsp;&nbsp;order or permit the record to be amended by correcting errors or by adding matters that

 &nbsp;&nbsp;&nbsp;&nbsp;should have been included." The appellate court's subsequent order allowing the State to

 &nbsp;&nbsp;&nbsp;&nbsp;amend the record by adding defendant's confession was entirely in accord with the terms

 &nbsp;&nbsp;&nbsp;&nbsp;of Rule 366(a) and appropriate under the circumstances here. Thereafter the appellate

 &nbsp;&nbsp;&nbsp;&nbsp;court afforded defendant an opportunity to reply to the State's response to his petition for

 &nbsp;&nbsp;&nbsp;&nbsp;rehearing and, thus, to address the contents of the confession. Therefore, it cannot be said

 &nbsp;&nbsp;&nbsp;&nbsp;that the appellate court decided the question of the sufficiency of the evidence to convict

 &nbsp;&nbsp;&nbsp;&nbsp;in its modified order upon denial of rehearing without having afforded defendant the right

 &nbsp;&nbsp;&nbsp;&nbsp;to counsel during the decisional process. Moreover, inasmuch as the appellate court did

 &nbsp;&nbsp;&nbsp;&nbsp;not order defendant's post-arrest statement barred from the record on appeal prior to

 &nbsp;&nbsp;&nbsp;&nbsp;relying upon it, as defendant avers, his claim that the appellate court's conduct in so

 &nbsp;&nbsp;&nbsp;&nbsp;doing denied him his right to confrontation and due process is without merit. Hence, the

 &nbsp;&nbsp;&nbsp;&nbsp;appellate court's reliance upon defendant's confession in its modified order upon denial

 &nbsp;&nbsp;&nbsp;&nbsp;of rehearing affirming the judgment of the trial court was not improper.

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;We have examined the defendant's contentions with regard to Supreme Court Rule

 &nbsp;&nbsp;&nbsp;&nbsp;341(e)(7) and the doctrine of waiver and conclude that they are not meritorious. We agree

 &nbsp;&nbsp;&nbsp;&nbsp;with the State that the defendant, having previously moved that the State be directed to

 &nbsp;&nbsp;&nbsp;&nbsp;supplement the record on appeal with his post-arrest statement among other of its exhibits,

 &nbsp;&nbsp;&nbsp;&nbsp;is in no position to object to the subsequent inclusion of this statement in the record and

 &nbsp;&nbsp;&nbsp;&nbsp;to argument concerning it.

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The judgment of the appellate court is affirmed.

 &nbsp;&nbsp;&nbsp;&nbsp;

 &nbsp;&nbsp;&nbsp;&nbsp;Affirmed.

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;JUSTICE BILANDIC, dissenting:

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;This case involves a murder conviction and a sentence of 70 years' imprisonment.

 &nbsp;&nbsp;&nbsp;&nbsp;On appeal, the defendant argued that the evidence was insufficient to prove him guilty

 &nbsp;&nbsp;&nbsp;&nbsp;beyond a reasonable doubt. In finding the evidence sufficient and thereby affirming the

 &nbsp;&nbsp;&nbsp;&nbsp;defendant's conviction, the appellate court relied on the defendant's purported post-arrest

 &nbsp;&nbsp;&nbsp;&nbsp;statement. The majority opinion holds that the appellate court's reliance upon the

 &nbsp;&nbsp;&nbsp;&nbsp;defendant's alleged post-arrest statement in affirming the judgment of the trial court was

 &nbsp;&nbsp;&nbsp;&nbsp;not improper. Slip op. at 8. For the reasons that follow, I find that the actions of the

 &nbsp;&nbsp;&nbsp;&nbsp;appellate court deprived the defendant of a fair appellate review.

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;It is a basic principle of appellate law that a court of review is prohibited from

 &nbsp;&nbsp;&nbsp;&nbsp;considering matters outside the record on appeal. See Logan v. Old Enterprise Farms,

 &nbsp;&nbsp;&nbsp;&nbsp;Ltd., 139 Ill. 2d 229 (1990). In Logan, the plaintiff sued the defendant for damages

 &nbsp;&nbsp;&nbsp;&nbsp;resulting from injuries sustained on the defendant's property. The trial court granted the

 &nbsp;&nbsp;&nbsp;&nbsp;defendant's motion for summary judgment. On appeal, the appellate court reversed, but

 &nbsp;&nbsp;&nbsp;&nbsp;in so doing, the appellate court considered an affidavit from an expert filed by the

 &nbsp;&nbsp;&nbsp;&nbsp;plaintiff after the filing of the notice of appeal. This court held that the appellate court

 &nbsp;&nbsp;&nbsp;&nbsp;erred in considering the affidavit, which was not a part of the trial court record. See

 &nbsp;&nbsp;&nbsp;&nbsp;Logan, 139 Ill. 2d at 237. Here, the defendant's alleged post-arrest statement was

 &nbsp;&nbsp;&nbsp;&nbsp;considered by the trial court but was never made part of the trial court's record. As a

 &nbsp;&nbsp;&nbsp;&nbsp;result, the statement was not a part of the record on appeal. When the appellate court

 &nbsp;&nbsp;&nbsp;&nbsp;denied the defendant's motion to compel the State to supplement the record with the

 &nbsp;&nbsp;&nbsp;&nbsp;alleged post-arrest statement, the defendant submitted his brief without reference to that

 &nbsp;&nbsp;&nbsp;&nbsp;statement. Despite the fact that the post-arrest statement was not a part of the record on

 &nbsp;&nbsp;&nbsp;&nbsp;appeal, the appellate court relied on that statement in its original order affirming the

 &nbsp;&nbsp;&nbsp;&nbsp;defendant's conviction. Thus, the appellate court improperly considered a document not

 &nbsp;&nbsp;&nbsp;&nbsp;reflected in the record on appeal in upholding the defendant's murder conviction. The

 &nbsp;&nbsp;&nbsp;&nbsp;majority opinion fails to provide a sufficient basis for upholding this obviously

 &nbsp;&nbsp;&nbsp;&nbsp;inappropriate action of the appellate court.

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;It is true that, in his petition for rehearing, the defendant pointed out the appellate

 &nbsp;&nbsp;&nbsp;&nbsp;court's error in relying on the alleged post-arrest statement. In its response, the State

 &nbsp;&nbsp;&nbsp;&nbsp;sought to supplement the record on appeal with the statement, although the State had

 &nbsp;&nbsp;&nbsp;&nbsp;originally objected to the inclusion of the statement in the record. As noted in the facts,

 &nbsp;&nbsp;&nbsp;&nbsp;the appellate court then allowed the statement to be included in the record and, in its

 &nbsp;&nbsp;&nbsp;&nbsp;modified order upon denial of rehearing, the appellate court continued to rely on the

 &nbsp;&nbsp;&nbsp;&nbsp;statement to reject the defendant's argument that the evidence was insufficient. These

 &nbsp;&nbsp;&nbsp;&nbsp;actions by the appellate court did not remedy its prior error. Instead, because the appellate

 &nbsp;&nbsp;&nbsp;&nbsp;court relied on a statement outside the record on appeal to decide a critical issue on

 &nbsp;&nbsp;&nbsp;&nbsp;appeal, without providing his defense counsel an opportunity to use that same statement

 &nbsp;&nbsp;&nbsp;&nbsp;in preparing the defendant's appeal, the appellate court deprived the defendant of his

 &nbsp;&nbsp;&nbsp;&nbsp;constitutional right to assistance of counsel. See Penson v. Ohio, 488 U.S. 75, 102 L. Ed.

 &nbsp;&nbsp;&nbsp;&nbsp;2d 300, 109 S. Ct. 346 (1988).

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;In Penson, the defendant's court-appointed appellate counsel filed a "Certification

 &nbsp;&nbsp;&nbsp;&nbsp;of Meritless Appeal" and was given leave by the state appellate court to withdraw. The

 &nbsp;&nbsp;&nbsp;&nbsp;state appellate court subsequently reviewed the record and considered the briefs of the

 &nbsp;&nbsp;&nbsp;&nbsp;codefendants. The court determined that there existed several arguable claims and that

 &nbsp;&nbsp;&nbsp;&nbsp;plain error had been committed which required reversal of the defendant's conviction on

 &nbsp;&nbsp;&nbsp;&nbsp;one count. Nevertheless, the court affirmed the defendant's convictions and sentences on

 &nbsp;&nbsp;&nbsp;&nbsp;the remaining counts. The preceding determinations were made by the state appellate

 &nbsp;&nbsp;&nbsp;&nbsp;court without the benefit of any input by any counsel on behalf of the defendant. The

 &nbsp;&nbsp;&nbsp;&nbsp;United States Supreme Court initially noted that "the right to be represented by counsel

 &nbsp;&nbsp;&nbsp;&nbsp;is among the most fundamental of rights." Penson, 488 U.S. at 84, 102 L. Ed. 2d at 311,

 &nbsp;&nbsp;&nbsp;&nbsp;109 S. Ct. at 352. The Penson Court then held that the state appellate court had violated

 &nbsp;&nbsp;&nbsp;&nbsp;the defendant's constitutional right to counsel on appeal. Penson, 488 U.S. 75, 102 L. Ed.

 &nbsp;&nbsp;&nbsp;&nbsp;2d 300, 109 S. Ct. 346. It further found that such decisionmaking by the state appellate

 &nbsp;&nbsp;&nbsp;&nbsp;court without the benefit of counsel on appeal amounted to reversible error. The Court

 &nbsp;&nbsp;&nbsp;&nbsp;stated: "It is apparent that the Ohio Court of Appeals *** committed *** serious error

 &nbsp;&nbsp;&nbsp;&nbsp;when it failed to appoint new counsel after finding that the record supported several

 &nbsp;&nbsp;&nbsp;&nbsp;arguably meritorious grounds for reversal of petitioner's conviction ***. As a result,

 &nbsp;&nbsp;&nbsp;&nbsp;petitioner was left without constitutionally adequate representation on appeal." Penson,

 &nbsp;&nbsp;&nbsp;&nbsp;488 U.S. at 81, 102 L. Ed. 2d at 309, 109 S. Ct. at 350.

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The actions taken by the state appellate court in Penson are analogous in their

 &nbsp;&nbsp;&nbsp;&nbsp;result to those of the appellate court in the case at bar. As previously noted, the appellate

 &nbsp;&nbsp;&nbsp;&nbsp;court entered its orders affirming the defendant's conviction predicated upon the

 &nbsp;&nbsp;&nbsp;&nbsp;defendant's purported post-arrest statement, which was unavailable to defense counsel in

 &nbsp;&nbsp;&nbsp;&nbsp;preparing his brief and argument on appeal. Such actions by the appellate court resulted

 &nbsp;&nbsp;&nbsp;&nbsp;in a denial of counsel during the appellate court's actual decisional process. See Penson,

 &nbsp;&nbsp;&nbsp;&nbsp;488 U. S. at 88, 102 L. Ed. 2d at 313, 109 S. Ct. at 354.

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;After examining the unusual procedural circumstances in this case, I find that the

 &nbsp;&nbsp;&nbsp;&nbsp;defendant was deprived of his constitutional right to assistance of counsel because defense

 &nbsp;&nbsp;&nbsp;&nbsp;counsel was not provided an opportunity to consider the defendant's purported post-arrest

 &nbsp;&nbsp;&nbsp;&nbsp;statement when preparing his appeal. In light of this constitutional violation and on

 &nbsp;&nbsp;&nbsp;&nbsp;grounds of fundamental fairness, I believe that the appellate court's judgment should be

 &nbsp;&nbsp;&nbsp;&nbsp;vacated and the cause remanded to the appellate court, where the parties can proceed with

 &nbsp;&nbsp;&nbsp;&nbsp;a complete record in preparing their briefs and arguments on appeal.

 &nbsp;&nbsp;&nbsp;&nbsp;

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;JUSTICES McMORROW and NICKELS join in this dissent.

 &nbsp;&nbsp;&nbsp;&nbsp;

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;JUSTICE NICKELS, also dissenting:

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The manner in which this case was heard in the appellate court denied defendant

 &nbsp;&nbsp;&nbsp;&nbsp;the right to due process and effective assistance of counsel. Therefore, I respectfully

 &nbsp;&nbsp;&nbsp;&nbsp;dissent.

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;In a bench trial, the trial judge found defendant guilty of first degree murder based

 &nbsp;&nbsp;&nbsp;&nbsp;almost entirely on the strength of a post-arrest statement. Defendant's statement was

 &nbsp;&nbsp;&nbsp;&nbsp;admitted into evidence and read silently by the trial judge, but erroneously excluded from

 &nbsp;&nbsp;&nbsp;&nbsp;the record on appeal.

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Defendant's appellate counsel, who was new to the case and who had not seen the

 &nbsp;&nbsp;&nbsp;&nbsp;statement, discovered that the statement was not part of the record and responsibly sought

 &nbsp;&nbsp;&nbsp;&nbsp;to supplement the record so he could prepare an appeal. The State objected to turning

 &nbsp;&nbsp;&nbsp;&nbsp;over the statement, which it held in its files, mysteriously claiming that the record on

 &nbsp;&nbsp;&nbsp;&nbsp;appeal was complete. The appellate court ultimately denied defendant's motion to

 &nbsp;&nbsp;&nbsp;&nbsp;supplement the record.

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Without having seen the statement, defendant's counsel was forced to brief the

 &nbsp;&nbsp;&nbsp;&nbsp;issue of whether defendant was proven guilty beyond a reasonable doubt without referring

 &nbsp;&nbsp;&nbsp;&nbsp;to the sole evidence on which the trial judge found a sufficient basis to convict. The State

 &nbsp;&nbsp;&nbsp;&nbsp;also did not refer to the contents of defendant's statement in its brief, having argued that

 &nbsp;&nbsp;&nbsp;&nbsp;the record was complete without the statement.

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Despite the fact that the statement was not read into the transcript in the trial

 &nbsp;&nbsp;&nbsp;&nbsp;court, was not part of the common law record on appeal and had not been argued by the

 &nbsp;&nbsp;&nbsp;&nbsp;parties, the appellate court relied upon the content of defendant's statement in finding that

 &nbsp;&nbsp;&nbsp;&nbsp;the evidence was sufficient to convict him. No. 1--95--3666 (unpublished order under

 &nbsp;&nbsp;&nbsp;&nbsp;Supreme Court Rule 23) ("In his confession, defendant told the police that he held the

 &nbsp;&nbsp;&nbsp;&nbsp;victim and kicked him during a gang meeting at Sheila's apartment"). The appellate court

 &nbsp;&nbsp;&nbsp;&nbsp;apparently gleaned this information from trial testimony, prosecutor arguments or the

 &nbsp;&nbsp;&nbsp;&nbsp;judge's comments about the statement made when finding defendant guilty of the murder.

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Defendant thereafter filed a petition for rehearing, arguing that the appellate court

 &nbsp;&nbsp;&nbsp;&nbsp;must have overlooked that the statement was not made part of the record on appeal. The

 &nbsp;&nbsp;&nbsp;&nbsp;State, apparently sensing it had erred in objecting to defendant's motion to supplement

 &nbsp;&nbsp;&nbsp;&nbsp;the record and in arguing that the record was complete, responded to the petition for

 &nbsp;&nbsp;&nbsp;&nbsp;rehearing by now offering defendant's statement from its files. The appellate court this

 &nbsp;&nbsp;&nbsp;&nbsp;time granted the motion to supplement the record. The appellate court then rendered a

 &nbsp;&nbsp;&nbsp;&nbsp;modified order upon denial of rehearing again basing its affirmance on the content of

 &nbsp;&nbsp;&nbsp;&nbsp;defendant's statement. This procedure denied defendant's counsel any opportunity to brief

 &nbsp;&nbsp;&nbsp;&nbsp;and argue in the appellate court the evidentiary value of defendant's statement.

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;A majority of this court determines that the absence of defendant's statement from

 &nbsp;&nbsp;&nbsp;&nbsp;the record on appeal is a circumstance chargeable to the defendant. Although it is

 &nbsp;&nbsp;&nbsp;&nbsp;certainly true that the party alleging error generally has the responsibility to preserve the

 &nbsp;&nbsp;&nbsp;&nbsp;record on appeal, here the defendant sought to fulfil that responsibility upon learning the

 &nbsp;&nbsp;&nbsp;&nbsp;record was incomplete by requesting that the State provide an important exhibit in its

 &nbsp;&nbsp;&nbsp;&nbsp;possession. I believe that the appellate court erred in refusing this request. The

 &nbsp;&nbsp;&nbsp;&nbsp;amendment of a record is governed by Supreme Court Rule 329 (134 Ill. 2d R. 329),

 &nbsp;&nbsp;&nbsp;&nbsp;which is a "broad provision" intended to facilitate the amendment of the record where

 &nbsp;&nbsp;&nbsp;&nbsp;necessary to supply omissions or correct inaccuracies. People v. Chitwood, 67 Ill. 2d 443,

 &nbsp;&nbsp;&nbsp;&nbsp;447 (1977).

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The majority determines the appellate court did not err in rejecting defendant's

 &nbsp;&nbsp;&nbsp;&nbsp;motion because a defendant cannot compel the State to supply exhibits in its possession.

 &nbsp;&nbsp;&nbsp;&nbsp;Why not? How else is a defendant going to obtain this document while it is in the State's

 &nbsp;&nbsp;&nbsp;&nbsp;files? Rule 329 provides that the appellant may be forced to pay costs of supplementing

 &nbsp;&nbsp;&nbsp;&nbsp;the record, but it says nothing about relieving the State from any responsibility to turn

 &nbsp;&nbsp;&nbsp;&nbsp;over a confession from its files in a murder case.

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Unlike the majority, I do not believe that defendant's duty to insure a complete

 &nbsp;&nbsp;&nbsp;&nbsp;record on appeal relieves the State from the duty to produce a confession in its files

 &nbsp;&nbsp;&nbsp;&nbsp;inadvertently omitted from the record on appeal. Constitutional principles of due process

 &nbsp;&nbsp;&nbsp;&nbsp;and effective assistance of counsel require something more than affirming a murder

 &nbsp;&nbsp;&nbsp;&nbsp;conviction based upon critical evidence not part of the record on appeal. I would therefore

 &nbsp;&nbsp;&nbsp;&nbsp;order the appellate court to rehear the case, after giving defendant's counsel and the State

 &nbsp;&nbsp;&nbsp;&nbsp;the opportunity to brief and argue the reasonable doubt issue with the benefit of the

 &nbsp;&nbsp;&nbsp;&nbsp;statement as part of the record.

 &nbsp;&nbsp;&nbsp;&nbsp;

 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;JUSTICES BILANDIC and McMORROW join in this dissent.

 &nbsp;&nbsp;&nbsp;&nbsp;


